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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                      Case No.: 1:19−cr−00226
                                                        Honorable Virginia M. Kendall
Robert M. Kowalski, et al.
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, April 30, 2021:


        MINUTE entry before the Honorable Virginia M. Kendall as to Robert M.
Kowalski. In person Status hearing held on 4/30/2021. The Court is satisfied Discovery is
ongoing and the Government understands its obligations under Brady. An Order of early
return of trial subpoenas with reciprocal Discovery is granted. The Government must be
notified of the subpoenas at the time they are filed. Robert Kowalski is instructed to
deliver any allegedly defective thumb drives to the Government. Robert Kowalski's
renewed Motion to alter the conditions of his bond [323] is denied based on his continued
inability to comply with Pretrial Services directives and absence of evidence Natalie Lira
was prevented from testifying on Defendant's behalf when his bond was revoked.
Defendant Robert Kowalski's Motion to dismiss standby counsel is taken under
advisement. (Dkts. [319], [327]). Status hearing set for 5/28/2021 at 10:00 AM which will
proceed in person for Defendant Robert Kowalski. Time is excluded until May 28, 2021,
over Kowalski's objections based on his numerous pending pretrial motions. The
Government is instructed to respond by 5/14/2021 to any pending motions filed by Robert
Kowalski to which they have not already done so.Mailed notice (lk, )




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